     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 1 of 65 Page ID
                                       #:8293



1     David W. Kesselman (Cal. Bar No. 203838)
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4     Telephone: 310-307-4555
5
      Counsel for Defendant
6     OPERATION TECHNOLOGY, INC.
7
                         UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9                             WESTERN DIVISION

10    POWER ANALYTICS                       Case No. 8:16-cv-01955-JAK (FFMx)
      CORPORATION,
11                                          DISCOVERY MATTER
                       Plaintiff,           Before Hon. Frederick F. Mumm
12
13               v.                         DECLARATION OF SALUMEH R.
                                            LOESCH IN SUPPORT OF ETAP’S
14    OPERATION TECHNOLOGY, INC.,           NOTICE AND MOTION TO
15
      d/b/a ETAP, OSISOFT LLC, and          COMPEL THE PRODUCTION OF
      SCHNEIDER ELECTRIC USA, INC.,         DOCUMENTS RESPONSIVE TO
16                                          ETAP’S FIRST AND SECOND SETS
                       Defendants.          OF REQUESTS FOR
17                                          PRODUCTION; JOINT
                                            STIPULATION PURSUANT TO L.R.
18                                          37-2
19                                          Date: June 13, 2017
20                                          Time: 10:00 a.m.
                                            Courtroom: 580, 5 th Floor
21                                          Judge: Hon. Frederick F. Mumm
22
                                            Discovery Cutoff: September 5, 2017
23                                          Pre-Trial Conf.: April 2, 2018
24                                          Trial Date: April 17, 2018

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     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 2 of 65 Page ID
                                       #:8294



1    I, Salumeh Loesch, declare:
2          1.     I am an attorney at the law firm of Klarquist Sparkman, LLP, and
3    counsel for Operation Technology, Inc. (“ETAP”), the Defendant in this matter. I
4    provide this declaration in support of ETAP’s Notice and Motion to Compel the
5    Production of Documents Responsive to ETAP’S First and Second Sets of Requests
6    for Production. I have personal knowledge of the facts set forth below, and if called
7    as a witness, could and would testify competently to such facts under oath.
8          2.     Attached as Exhibit A is a true and correct copy of the case
9    scheduling order, ECF No. 147.
10         3.     Attached as Exhibit B is a true and correct copy of ECF No. 217.
11         4.     Attached as Exhibit C is a true and correct copy of ECF No. 217-1,
12   Exhibits F-H. Exhibits A-E, totaling 879 pages have not been duplicated here.
13         5.     Attached as Exhibit D is a true and correct copy of the February 28,
14   2017 Rule 37-1 letter regarding Plaintiff’s Paladin document production from
15   ETAP’s counsel John D. Vandenberg to Plaintiff’s counsel. Prior to service of this
16   letter, Plaintiff had not produced a single document or things regarding its Paladin
17   prior art system or software dated prior to July 20, 2007. After this letter, Plaintiff
18   produced a few dozen documents related to Paladin before July 2007. None of
19   these documents provided any detailed technical information. To date, Plaintiff
20   has not provided any detailed technical information regarding its pre-July 2007
21   Paladin (including Paladin Live) software, products, or installations.
22         6.     Attached as Exhibit E is a true and correct copy of a follow-up Rule
23   37-1 letter from ETAP’s counsel Salumeh Loesch to Plaintiff’s counsel,
24   summarizing the parties meet-and-confers and confirming that Plaintiff stated
25   during that meet-and-confer that it “will: (1) produce all Paladin documents,
26   including source code, executable code, technical documents, sales information,
27   etc. by no later than March 31, 2017; (2) provide at least the names of the withheld
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     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 3 of 65 Page ID
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1    NDA third party information by no later than March, 31, 2017; and (3) provide a
2    privilege log related to these Paladin documents by no later than April 7, 2017.”
3    The letter also explained that ETAP understood that Plaintiff will: “1. Produce its
4    executable code by no later than March 17, 2017; 2. Make its source code available
5    for inspection once Power Analytics determines how to install it on a computer,
6    and provide us with an update by today, March 15; 3. Produce additional
7    documents this week; and 4. Complete its document production by no later than
8    April 28, 2017.” None of these deadlines have been met. Plaintiff has not made its
9    prior art source code available for inspection and has not provided any privilege
10   log.
11          7.     The document production related to Paladin prior art as of May 1,
12   2017, has been minimal: missing are technical documents detailing the software,
13   documents between General Atomics and Plaintiff, documents related to the FAA
14   installations, documents supporting Plaintiff’s interrogatory responses, and
15   documents of other uses of this Paladin software that was in the market for at least
16   three years prior to the filing of the patents.
17          8.     Attached as Exhibit F is a true and correct copy of the April 10, 2017
18   letter from Plaintiff’s counsel to ETAP’s counsel regarding Plaintiff’s source code
19   production.
20          9.     Attached as Exhibit G is a true and correct copy of email exchanges
21   between Plaintiff’s counsel and ETAP’s counsel regarding Plaintiff’s source code
22   production.
23          10.    Attached as Exhibit H is a true and correct copy of ECF No. 161-2.
24          11.    Attached as Exhibit I is a true and correct copy of ECF No. 203-2.
25          12.    Attached as Exhibit J is a true and correct copy of an excerpt of a
26   document produced by Plaintiff at PA_00001087.
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     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 4 of 65 Page ID
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1          13.    Attached as Exhibit K is a true and correct copy of an excerpt of a
2    document produced by Plaintiff at PA_00001096.
3          14.    Attached as Exhibit L is a true and correct copy of an April 27, 2010
4    press release from Plaintiff’s website titled: “ESDA Awarded Patent for Industry’s
5    Only Real-Time.”
6          15.    Attached as Exhibit M is a true and correct copy of a March 23, 2010
7    press release from Plaintiff’s website titled: “EDSA Awarded Patent for Industry’s
8    Only Real-Time Arc Flash Software.”
9          16.    Attached as Exhibit N is a true and correct copy of a letter from ETAP
10   to EDSA Micro Corporation dated July 15, 2009.
11         17.    Attached as Exhibit O is a true and correct copy of a letter sent from
12   ETAP’s General Counsel to its customers.
13         18.    Attached as Exhibit P is a true and correct copy of Kevin Meagher’s
14   LinkedIn profile, found at https://www.linkedin.com/in/kevin-meagher-2252265/.
15         19.    Attached as Exhibit Q is a true and correct copy of Plaintiff’s
16   Amended Objections and Responses to Defendant ETAP’s First Set of
17   Interrogatories to Plaintiff Power Analytics Corporation (Nos. 1, 3 and 5), dated
18   April 10, 2017.
19         20.    Attached as Exhibit R is a true and correct copy of ECF No. 162-1.
20         21.    Attached as Exhibit S is a true and correct copy of ECF No. 199.
21         22.    Attached as Exhibit T is a true and correct copy of U.S. Patent No. 7,
22   693,608.
23         23.    Attached as Exhibit U is a true and correct copy of an article from
24   Plaintiff’s website from April 9, 2006, titled “COMING SOON: Paladin®Live™
25   Real)time Power Analytics Platform.”
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     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 5 of 65 Page ID
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1          24.   Attached as Exhibit V is a true and correct copy of an August 9, 2013
2    press release titled: “Power Analytics™ Names Kevin Meagher President and
3    Chief Technology Officer.”
4          25.   Attached as Exhibit W is a true and correct copy of EDSA Partial
5    User List produced by ETAP at ETAP-PA_00005995-6036.
6          26.   Attached as Exhibit X is a true and correct copy of an article from
7    Plaintiff’s website from 2005 found at:
8    http:l/web.archive.org/web/20050204215020/http:l/edsa.com/Paladin.htm.
9          27.   Attached as Exhibit Y is a true and correct copy of Copyright
10   Encyclopedia website, for Copyright Registration No. TX0006355193.
11         28.   Attached as Exhibit Z is a true and correct copy of Plaintiff’s
12   Objections and Responses to Operation Technology Inc. d/b/a ETAP’s First
13   Request for Production of Documents (Nos. 1-64), dated December 8, 2016.
14         29.   Attached as Exhibit Z1 is a true and correct copy of Plaintiff’s
15   Objections and Responses to Operation Technology, Inc. d/b/a ETAP’s Second
16   Request for Production of Documents (Nos. 65-208), dated January 19, 2017.
17         30.   I certify that ETAP, by and through its counsel, has in good faith
18   conferred and attempted to confer with Power Analytics in an effort to obtain the
19   requested discovery without court action.
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     Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 6 of 65 Page ID
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1          I declare under penalty of perjury under the laws of the United States that
2    the foregoing is true and correct.
3          Executed May 23, 2017, at Portland, Oregon.
4
5                                                 Salumeh R. Loesch
                                                  Salumeh R. Loesch
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                                     #:8300
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

 Case No.       SA CV16-01955 JAK (FFMx)                                          Date    December 1, 2016
 Title          Power Analytics Corporation v. Operation Technology, Inc., et al.




 Present: The Honorable                 JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                     Andrea Keifer                                             Not Reported
                     Deputy Clerk                                        Court Reporter / Recorder
             Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                          Not Present                                           Not Present


 Proceedings:                 (IN CHAMBERS) ORDER SETTING PRETRIAL AND TRIAL DATES

The Court has reviewed the parties November 10, 2016 joint report and sets the following deadlines:

Patent Claims:

         December 19, 2016:                      Defendants to serve invalidity contentions

         January 9, 2017:                        Last day to amend or add parties

         January 9, 2017:                        Parties to exchange proposed terms for construction

         January 23, 2017:                       Parties to exchange proposed constructions and evidence

         February 27, 2017:                      Claim Construction Discovery Cut-Off

         March 6, 2017:                          Joint Markman Prehearing Statement Due

         March 13, 2017:                         Simultaneous Opening Markman Briefs Due

         April 27, 2017:                         Simultaneous Responsive Markman Briefs, Tutorials, and
                                                 Presentation Materials Due

         April 17, 2017 at 10:00 a.m.:           Markman Hearing

         May 15, 2017:                           Anticipated Ruling to be Issued on Markman Issues

         June 12, 2017:                          Patentee’  s Deadline to File Final Infringement Contentions,
                                                 Expert Reports on issues Where Patentee has Burden of
                                                 Proof, All Parties File Advice of Counsel Disclosures

         July 10, 2017:                          Accused Infringer’
                                                                  s Deadline to File Final Invalidity
                                                 Contentions, Rebuttal Expert Reports, and Opening Expert
                                                                                                       Page 1 of 3
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                                     #:8301
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                          CIVIL MINUTES – GENERAL

 Case No.       SA CV16-01955 JAK (FFMx)                                           Date   December 1, 2016
 Title          Power Analytics Corporation v. Operation Technology, Inc., et al.

                                               Reports Where Accused Infringer has Burden of Proof

         TBD:                                  Last day to participate in a settlement conference/mediation

         TBD:                                  Last day to file a notice of settlement or a joint report re
                                               status of settlement

         TBD:                                  Post Mediation Status Conference

         August 7, 2017:                       Patentee’
                                                       s Deadline for Rebuttal Expert Reports on Issues
                                               Where Accused Infringer has Burden of Proof

         September 5, 2017:                    Discovery Cut-Off

         October 2, 2017:                      Last day to file motions (including discovery motions)

         November 20, 2017:                    Last day to hear motions (including discovery motions)

         December 18, 2017:                    Anticipated ruling on all motions

         March 19, 2018:                       Last day to file all pretrial documents

         April 2, 2018 at 3:00 p.m.:           Final Pretrial Conference, Status Conference re Exhibits,
                                               and Hearing on Motions in Limine

         April 17, 2018 at 9:00 a.m.:          Jury Trial (est. tbd days)

Non-Patent Claims:

         Within 14 days after the ruling on    Last day to amend or add parties
         the Motions to Dismiss, if leave to
         amend is granted:

         January 30, 2017 at 8:30 a.m.:        Hearing on Defendant Schneider Electric USA, Inc.’s Motion
                                               to Dismiss (Dkt. 42) and Defendants Operation Technology,
                                               Inc. and Osisoft, LLC’s Second Motion to Dismiss (Dkt. 44)
                                               (“Motions”)

         January 30, 2017 at 8:30 a.m.:        Status Conference re Settlement and Discovery

         September 5, 2017:                    Non-Expert Discovery Cut-Off

         September 18, 2017:                   Initial Expert Disclosures

         October 2, 2017:                      Rebuttal Expert Disclosures

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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                          CIVIL MINUTES – GENERAL

 Case No.       SA CV16-01955 JAK (FFMx)                                          Date    December 1, 2016
 Title          Power Analytics Corporation v. Operation Technology, Inc., et al.

         October 23, 2017:                    Expert Discovery Cut-Off

         November 6, 2017:                    Last day to file motions (including discovery motions)

         January 29, 2018:                    Last day to hear motions (including discovery motions)

         March 5, 2018:                       Anticipated ruling on all motions

         March 19, 2018:                      Last day to file all pretrial documents

         April 2, 2018 at 3:00 p.m.:          Final Pretrial Conference, Status Conference re Disputed
                                              Exhibits, and Hearing on Motions in Limine

         April 17, 2018 at 9:00 a.m.          Jury Trial (est. tbd days)

The Court will determine the number of days allotted for trial at the time of the Final Pretrial Conference.

Counsel shall deliver a courtesy copy of the Motions, responses, and replies no later than December 8,
2016. The documents shall be printed from CM/ECF and include the CM/ECF generated header
consisting of the case number, document control number, date of filing, page number, etc.

The request to stay non-patent discovery pending the ruling on the Motions is denied other than as to
depositions. The timing of the commencement of depositions will be discussed with counsel at the
January 30, 2017 hearing on the Motions. With respect to the time allocated for depositions, each side is
permitted 150 hours for depositions of non-expert witnesses as to both patent and non-patent issues;
provided, however, of this 150 hours, no more than 70 hours may be applied to depositions of witnesses
who are officers, employees or otherwise specifically linked to a particular party to this action.

The Court will confer with counsel about a settlement process at the hearing on the Motions.

Counsel for all parties shall comply with this Court’
                                                    s standing orders with respect to documents to be
prepared and filed in connection with the Final Pretrial Conference. Dkt. 107.

IT IS SO ORDERED.

                                                                                                 :

                                                             Initials of Preparer    ak




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                                      #:8304
Case
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                                    See, e.g., Woodland Trust v. Flowertree Nursery,

                                              See
Case
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   Inc.                                                                         In re
   Caveney




                                               see id.




                                                    and is planned for installation at
   others                                                       see also id.




            See also
                Clearwater Sys. Corp. v. Evapco, Inc.
                See also
Case
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                                                         see also




                             prior art


                                    see also                                Plaintiff


                                         id




                                                                      Id




                                               See id.
Case
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                                   see also




                                                 prima facie




                      See
                              See, e.g., Clearwater Sys. Corp.




                                          Id           see also
Case
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            See, e.g.,




                         See Woodland Trust                       In re Caveney




                                     /s/Salumeh R. Loesch
Case
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                                    #:8313




                                          /s/Marla Beier
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                                        #:8315



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4
5      Counsel for Defendant
       OPERATION TECHNOLOGY, INC.
6
       [Additional Counsel Listed on Signature Pages]
7
8
                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
10
      POWER ANALYTICS                          Case No. 8:16-cv-01955-JAK (FFMx)
11    CORPORATION,
12                                             DISCOVERY MATTER
                        Plaintiff,             Before Hon. Frederick F. Mumm
13
                  v.                           DECLARATION OF SALUMEH
14                                             LOESCH IN SUPPORT OF ETAPS
15    OPERATION TECHNOLOGY, INC.,              L.R. 37-2.3 SUPPLEMENTAL
      d/b/a ETAP, OSISOFT LLC, and             MEMORANDUM RE JOINT
16    SCHNEIDER ELECTRIC USA, INC.,            STIPULATION REGARDING
                                               ETAPS MOTION TO COMPEL
17                       Defendants.           PLAINTIFF TO RESPOND TO
                                               ETAPS FIRST SET OF
18                                             INTERROGATORIES (NOS. 1-7)
19
                                               Date:        May 9, 2017
20                                             Time:        10:00 a.m.
                                               Courtroom:   580, 5th Floor
21                                             Before:      Hon. Frederick F. Mumm
22
                                               Discovery Cut-off: September 5, 2017
23                                             Pretrial Conference: April 2, 2018
                                               Trial Date: April 17, 2018
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                                        #:6503
                                        #:8316



1     I, Salumeh R. Loesch, declare:
2           1.     I am an attorney at the law firm of Klarquist Sparkman, LLP, and
3     counsel for Operation Technology, Inc. (ETAPŽ), the Defendant in this matter. I
4     provide this declaration in support of the ETAPS L.R. 37-2.3 Supplemental
5     Memorandum Re Joint Stipulation Regarding ETAPs Motion To Compel Plaintiff
6     To Respond To ETAPs First Set Of Interrogatories (Nos. 1-7). I have personal
7     knowledge of the facts set forth below, and if called as a witness, could and would
8     testify competently to such facts under oath.
9           2.     Attached as Exhibit A is a true and correct copy of Defendants ETAPs
10    and Schneider Electric USAs Preliminary Invalidity Contentions, served on
11    Plaintiff on December 19, 2016. A search for PaladinŽ in this cover document to
12    the Invalidity Contentions results in the word Paladin mentioned 103 times on the
13    following pages: 48, 52, 53, 81, 82, 84, 85, 86, 90, 91, 93, 94, 97, 98, 100, 101, 104,
14    105, 108, 109, 112, 113, 116, 117, 118, 121, 123, 124, 126, 127, 128, 130, 136, 139,
15    140, 143, 144, 146, 150, 152, 159, 160, 163, 165, 166, 167, 171, 172, 173, 174, 177,
16    179, 180, 184, 207, 226. Also in this cover document, Defendants identify the
17    following Paladin articles:
18
19         Paladin Prior Art Documents Identified in                    Page Nos. In
         Defendants Preliminary Invalidity Contentions              Defs. Preliminary
20                                                                       Invalidity
21                                                                      Contentions
       COMING SOON: Paladin Live Real- Time Power                  48, 101, 139, 166, 174,
22     Analytics Platform; Wayback Machine; EDSA;
23     2006/04/09; ETAP-PA_00005821
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                                        #:8317



1          Paladin Prior Art Documents Identified in               Page Nos. In
         Defendants Preliminary Invalidity Contentions         Defs. Preliminary
2                                                                    Invalidity
3                                                                  Contentions
       Paladin Monitoring and Predictive Software For         48, 52, 81-82, 84, 85,
4      Electric Power Distribution Systems; R.J. Thome, M. 86, 91, 93, 98, 100,
5      Nevins, M. Reed, Adib Nasle, James Firestine; 2004;    105, 108, 109, 113,
       ETAPPA_593 -ETAPPA_00006598; Exhibit No. A2; 117, 118, 121, 123,
6      608 v Monitoring and Predictive Software (Paladin) p. 127, 128, 130, 140,
7      84; Exhibit No. B2; 808 v Monitoring and Predictive 144, 146, 152, 163,
       Software (Paladin) p. 84; Exhibit No. C2; 990 v       167, 171, 173, 179,
8      Monitoring and Predictive Software (Paladin) p. 85;    180, 207, 226
9      Exhibit D2; 395 v Monitoring and Predictive
       Software (Paladin) p. 86
10
       Paladin represents a new technological achievement 52, 93, 101, 123-124,
11     that will forever change how electric power systems 139, 146, 166, 173,
       are designed, controlled and maintained; Wayback       180,
12
       Machine; EDSA; 2004/03/06; ETAPPA_00006592
13     Paladin DesignBase [sic, p. 52] Solutions Modules;     52, 100, 160, 165, 172,
       Wayback Machine; EDSA/ 2006/05/18;
14
       ETAPPA_00006590 -ETAPPA_00006591
15     EDSA Introduces Virtualization, Capacity Planning 53, 94, 166, 173,
       Capabilities for Paladin Live; EDSA; EDSA;
16
       2007/06/22; ETAPPA_00005993 -ETAPPA_00005994
17     EDSA and EDSA/General Atomics Paladin®                 81, 226
18     software Paladin Live software (PaladinŽ)
       Paladin® software Paladin Live software offered        90, 97, 104, 108, 112,
19     for sale and/or in public use no later than 2005 by    116, 121, 126, 136,
20     EDSA and/or EDSA/General Atomics; EDSA and/or 143, 150, 159, 162,
       EDSA/General Atomics                                   169, 177, 184, 226,
21     Power Analytics: Now You Know EDSA Introduces 100-101
22     Virtualization, Capacity Planning Capabilities for
       Paladin Live; EDSA; EDSA
23
24    Finally, Defendants identify All versions of EDSA and EDSA/General Atomics
25    Paladin® softwareŽ on pages 81 and 226 of Defendants preliminary invalidity
26    contentions of Exhibit A.
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1           3.    Attached as Exhibit B is a true and correct copy of Exhibit A2 to
2      Defendants ETAPs and Schneider Electric USAs Preliminary Invalidity
3      Contentions, titled 608 v. Paladin® Monitoring and Predictive Software for
4      Electric Power Distribution Systems,Ž served on Plaintiff on December 19, 2016.
5           4.    Attached as Exhibit C is a true and correct copy of Exhibit B2 to
6      Defendants ETAPs and Schneider Electric USAs Preliminary Invalidity
7      Contentions, titled 808 v. Paladin® Monitoring and Predictive Software for
8      Electric Power Distribution Systems,Ž served on Plaintiff on December 19, 2016.
9           5.    Attached as Exhibit D is a true and correct copy of Exhibit C2 to
10    Defendants ETAPs And Schneider Electric USAs Preliminary Invalidity
11    Contentions, titled 990 v. Paladin® Monitoring and Predictive Software for
12    Electric Power Distribution Systems,Ž served on Plaintiff on December 19, 2016.
13          6.    Attached as Exhibit E is a true and correct copy of Exhibit D2 to
14    Defendants ETAPs And Schneider Electric USAs Preliminary Invalidity
15    Contentions, titled 395 v. Paladin® Monitoring and Predictive Software for
16    Electric Power Distribution Systems,Ž served on Plaintiff on December 19, 2016.
17          7.    Attached as Exhibit F is a true and correct copy of the LinkedIn profile
18    of Adib Nasle, found at https://www.linkedin.com/in/adibnasle/. According to the
19    LinkedIn profile, Mr. Nasle was the Co-Founder, President and CSO at Power
20    Analytics Corporation from January 2003 to January 2010.
21          8.    Attached as Exhibit G is a true and correct copy of a General Atomics
22     article, pulled from the Wayback Machine, June 2, 2005.
23          9.    Attached as Exhibit H is a true and correct copy of Slide 32 of Plaintiffs
24     Claim Construction Demonstrative Slides, as received by ETAP on April 4, 2017.
25          10.   The article Paladin® Monitoring and Predictive Software for Electric
26     Power Distribution Systems,Ž by R.J. Thome, M. Nevins, M. Reed (General
27     Atomics), Adib Nasle (EDSA), and James Firestine (FAA), published before
28
                                                3
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                                        #:8319



1      November 9, 2004 (Paladin ArticleŽ), is Exhibit C of ECF No. 161-2 at pages 13-
2      18. Figure 1 in the 2004 Paladin Article is nearly identical to Figure 2 of the 608
3      patent, as shown below:
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                                                                608, Fig. 2
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14          11.    The brochure titled EDSA® Professional Power System Design and
15     Simulation for CATIA® V5, is Exhibit D to ECF No. 161-2 at pages 20-27. The
16     drawing on page 25 of ECF No. 161-2, titled Basic PALADIN ArchitectureŽ is
17     nearly identical to Figure 3 of the 608 patent, as shown below:
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           Basic PALADIN Architecture                           608, Fig. 3
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                                        #:8320



1           I declare under penalty of perjury under the laws of the United States that
2     the foregoing is true and correct.
3           Executed April 25, 2017 in San Francisco, California.
4
5                                          /s/ Salumeh R. Loesch
                                           Salumeh R. Loesch
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  From:
  To:
  Cc:

  Subject:
  Date:
  Attachments:




  Hi Salumeh,
  We have not been able to locate source code for the items that you mentioned in point 2 of your
  email below, but source code for DesignBase 6 and Paladin Live 5.4 is now available for inspection in
  our DC office. Thanks.

  Amadou
  Amadou Kilkenny Diaw




  From: Salumeh R. Loesch [mailto:salumeh.loesch@klarquist.com]
  Sent: Thursday, May 4, 2017 1:15 PM
  To: Amadou Kilkenny Diaw <amadoukd@ruyakcherian.com>; Ted Farrell <tedf@ruyakcherian.com>
  Cc: Sunny Cherian <sunnyc@ruyakcherian.com>; Don Livornese <donl@ruyakcherian.com>; Garth A.
  Winn <garth.winn@klarquist.com>; John D. Vandenberg <john.vandenberg@klarquist.com>; Sarah
  E. Jelsema <Sarah.Jelsema@klarquist.com>; Linda D. Schroeder <linda.schroeder@klarquist.com>
  Subject: RE: Source Code

  Hi Amadou,

  Do you have an update on the below email?

  Thanks.

  -Salumeh




  From: Amadou Kilkenny Diaw [mailto:amadoukd@ruyakcherian.com]
  Sent: Friday, April 28, 2017 4:14 PM
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  To: Salumeh R. Loesch <salumeh.loesch@klarquist.com>; Ted Farrell <tedf@ruyakcherian.com>
  Cc: Sunny Cherian <sunnyc@ruyakcherian.com>; Don Livornese <donl@ruyakcherian.com>; Garth A.
  Winn <garth.winn@klarquist.com>; John D. Vandenberg <john.vandenberg@klarquist.com>; Sarah
  E. Jelsema <Sarah.Jelsema@klarquist.com>; Linda D. Schroeder <linda.schroeder@klarquist.com>
  Subject: RE: Source Code

  Salumeh,
  The source code for EDSA Technical Rev 1 and Rev 2 is available for inspection in our offices in
  Washington, DC. We will follow up by Wednesday regarding the items that you mentioned in point 2
  of your list.

  Many thanks.
  Amadou Kilkenny Diaw




  From: Salumeh R. Loesch [mailto:salumeh.loesch@klarquist.com]
  Sent: Friday, April 28, 2017 2:00 PM
  To: Amadou Kilkenny Diaw <amadoukd@ruyakcherian.com>; Ted Farrell <tedf@ruyakcherian.com>
  Cc: Sunny Cherian <sunnyc@ruyakcherian.com>; Don Livornese <donl@ruyakcherian.com>; Garth A.
  Winn <garth.winn@klarquist.com>; John D. Vandenberg <john.vandenberg@klarquist.com>; Sarah
  E. Jelsema <Sarah.Jelsema@klarquist.com>; Linda D. Schroeder <linda.schroeder@klarquist.com>
  Subject: RE: Source Code

  Hi Amadou,

  Can you promptly respond to the below email? Thank you.

  -Salumeh




  From: Salumeh R. Loesch
  Sent: Wednesday, April 26, 2017 11:23 AM
  To: 'Amadou Kilkenny Diaw'<amadoukd@ruyakcherian.com>; 'Ted Farrell'
  <tedf@ruyakcherian.com>
  Cc: Sunny Cherian <sunnyc@ruyakcherian.com>; Don Livornese <donl@ruyakcherian.com>; Garth A.
Case 8:16-cv-01955-JAK-FFM Document 253-1 Filed 05/23/17 Page 65 of 65 Page ID
                                   #:8357

  Winn <garth.winn@klarquist.com>; John D. Vandenberg <john.vandenberg@klarquist.com>; Sarah
  E. Jelsema <Sarah.Jelsema@klarquist.com>; Linda Schroeder (linda.schroeder@klarquist.com)
  <linda.schroeder@klarquist.com>
  Subject: Source Code

  Amadou,

  Please confirm that:
      1. Power Analytics’s source code for EDSA Technical Rev 1 and Rev 2 are available for inspection,
         and
      2. The source code available for review includes all source code associated with all versions of
         EDSA’s Paladin software from 2006 and earlier, including code installed at
            a. the “three Federal Aviation Administration (FAA)sites in the U SA” referenced in ECF
                N o. 161-2, Ex. C;
            b. the “Minneapolis ARTCC (MZP)” and “Denver ARTCC and FAA O klahoma Technical
                Center” installations identified in ECF N o. 217-1 at Ex. G; and
             c. the installations identified in Plaintiff’s response to Interrogatory N o. 1.

  Thank you.

  -Salumeh
